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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



AFL-CIO, et al.,

Plaintiffs,

v.                                                      Case No. 1:25-cv-00339

DEPARTMENT OF LABOR, et al.,

Defendants.




                              DECLARATION OF LOUIS NUCCI

I, Louis Nucci, declare as follows:

     1. The statements made in this declaration are based on my personal knowledge,

        information, and belief.

     2. I submit this declaration in support of Plaintiffs’ motion for a preliminary injunction in

        this matter.

     3. Before my retirement last year, I worked as a Senior Telecommunications Technician and

        I have been a member of the Communication Workers of America since 2008. I am

        currently a member of the 1101 Retired Members Council, which works to protect the

        rights and interest of CWA retiree members.

     4. I enrolled in Medicare Advantage in January 2023. In July 2024, when I retired, I began

        using Medicare Advantage as my primary healthcare.

     5. In order to apply for Medicare, I shared various types of personal information with the

        government, including my name, Social Security number, bank account information, and
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       birth date. When I enrolled in Medicare, I relied on the federal government to keep my

       personal information private and confidential.

   6. It’s my understanding that the Centers for Medicare and Medicaid Services (CMS) at the

       Department of Health and Human Services (HHS) has private medical information about

       me because I am enrolled in Medicare. I expected and was told that all my medical

       information would remain confidential.

   7. I understand that people associated with the U.S. Department of Government Efficiency

       (DOGE) have accessed private information about Medicare recipients at CMS and HHS.

       I have not and do not consent for anyone associated with DOGE to have access to my

       private information, including my private medical information.

   8. I am concerned that my private information is not protected as it should be. I don’t want

       people to have access to my private information if they are going to try to harm me and

       am worried about people with access to my private information using it for scams.

   9. Getting access to my Social Security number would open up everything in my life. If

       someone were to access my Social Security number, they could gain access to my

       investments, my bank accounts, and my Social Security payments. I am upset that DOGE

       has accessed this information and worried about what they are going to do with it.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in Huntington, New York on April 18, 2025



                                                         Louis Nucci
